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In the Gnited States Court of Federal Clanns

No. 18-1118C
(Filed August 30, 2019)
NOT FOR PUBLICATION

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FAREED SEPEHRY-FARD,
Plaintiff,
Vv.
THE UNITED STATES,

Defendant.

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MEMORANDUM OPINION AND ORDER
WOLSKI, Judge.

This case was filed pro se on July 26, 2018, by Fareed Sepehry-Fard.!
Plaintiff makes several allegations to the effect that banks had created false
mortgages encumbering his property which resulted in foreclosures, and that when
he told the federal government about it, the federal government failed to protect
him. See Complaint (Compl.), ECF No. 1; Verified Opp’n to Def.’s Mot. to Dismiss at
5 (PL’s Resp.), ECF No. 10. He has asserted claims against the federal government
in relation to those foreclosures. See Compl. {{ 24-95. The government has moved
to dismiss this case under Rule 12(b)(1) of the Rules of the United States Court of
Federal Claims (RCFC). See Mot. to Dismiss at 1-5 (Def.’s Mot.), ECF No. 8.
Because My. Sepehry-Fard has failed to state a claim for relief that falls within this
court’s jurisdiction, the government’s motion to dismiss this case must be
GRANTED.

 

1 Plaintiff objects to being called a “pro se” litigant, see Pl.’s Resp. at 3, as he
apparently fails to recognize that the term simply refers to a party representing
himself without the assistance of legal counsel.

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I. BACKGROUND

On July 26, 2018, plaintiff Fareed Sepehry-Fard filed his complaint in our
court. The complaint contains a number of confusing claims concerning disputed
property in California. See Compl. {| 24-95. Mister Sepehry-Fard complains that
the United States has failed to stop a number of banks and named individuals from
creating false mortgages encumbering his property, see id. { 31, claiming the latter
were “known international money launderers . . . involved in sex trafficking, human
trafficking, prostitution, drug cartel and other illegally obtained monies . . . using
Plaintiff's (and other people’s homes) as a cover up to launder those illegally
obtained monies.” Id. { 24. The entities and individuals plaintiff claims are thieves
and “money launderers” include the U.S. Bank National Association, Greenpoint
Mortgage Trust, Nationstar Mortgage LLC, Greenpoint Mortgage Funding, Inc.,
Capital One, N.A., Severson & Werson APC, Joseph W. Guzzetta, Bernard J.
Kornberg, Adam N. Barasch, Mark Joseph Kenney, William A. Aspinwall, Financial
Guaranty Insurance Company, and Clear Recon Corp. Id.?

Plaintiff claims that as a result, he “has become disabled due to Defendant’s
failure to perform its official duties severely damaging plaintiff emotionally,
economically and physically.” Compl. § 31. Mister Sepehry-Fard also claims that
the United States “in fact aided and abetted aforementioned companies to continue
to steal from Plaintiff.” Jd. Plaintiff states that he filed a qui tam complaint in a
California federal district court in an attempt to sue these “known international
money launderers,” but his complaint was dismissed “since Plaintiff is not an
attorney.” Id. [§ 24-27 & n.5. In complaining about this dismissal, Mr. Sepehry-
Fard demands that “attorneys prove the legislative authority” that allows them to
practice law. Id. { 27. Further, Mr. Sepehry-Fard challenges the decision of the
district judge as “void as a matter of law.” Id. 28.

Mister Sepehry-Fard also accuses the previously mentioned entities and
individuals of violations of the California Penal Code and federal law. Specifically,
Mr. Sepehry-Fard claims that the entities/individuals “have consistently fabricated
false, forged, robo signed and robo notarized instruments . . . in clear violation of,
inter alia, Cal. Penal Code 115 (a) and (b) as well as US Code §§§ 471, 472 and 473.”
Compl. 4] 88-89. The complaint also accuses the Financial Guaranty Insurance
Company (FGIC) of “knowingly or through negligence participat[ing] in these
unlawful acts and insur[ing the] aforementioned entities.” Id, |] 92.

Seemingly unrelated to his claims of criminal conduct, Mr. Sepehry-Fard also
alleges that the Treaty of Guadalupe Hidalgo exempts his property from “property
taxation, foreclosure, eminent domain, liens & levy.” Compl. { 80. Although this
section of the complaint is particularly incoherent, plaintiff seems to claim that his
property is legally exempt from taxation because it can be traced back to the Treaty

 

2 Plaintiff also implicates “Does 1 through 50.” Compl. { 26 n.5.
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of Guadalupe Hidalgo and “[n]o local property tax law can supersede International
Treaty Law.” Id. § 84. Plaintiff claims that attempting to foreclose on his property
would amount to a “criminal violation of Treaty between our country and REPULIC
OF MEXICO, and THAT action would also be a declaration of war on Sovereign
REPUBLIC OF MEXICO.” Jd. { 68 (emphasis in original). Any attempt to tax
plaintiff's property would, he asserts, be “a felony under Federal Law on false
accusation of tax debt at 26 U.S.C. § 7214(a)(1) and/or (2), and/or (3)... and/or (9).”
Id. | 82.

Additionally, Mr. Sepehry-Fard alleges Constitutional violations of the First,
Fourth, and Fifth Amendments along with unspecified violations of due process and
violations of the Constitution of the State of California. Id. {{ 2, 3n.2.2 Plaintiff
also alleges that the Constitution is a contract and that violations of the
Constitution also amount to a breach of contract between the United States and
himself. Id. § 2.

Plaintiff requests both injunctive relief and damages from the United States.
Compl. § 97. Mister Sepehry-Fard requests that this court quiet title regarding his
property and award him $25,000,000 in both compensatory and punitive damages
for the government’s “failure to perform its official duties.” Id. Plaintiff also
requests “a trial by jury be held for all issues so triable.” Id. 4

The government has moved for the dismissal of plaintiff's complaint
pursuant to RCFC 12(b)(1) for lack of subject-matter jurisdiction. Def.’s Mot. at 1,
3—4 (Def.’s Mot.), ECF No. 8. Defendant first argues that our court is unable to
review district court decisions involving Mr. Sepehry-Fard because “such decisions
are not reviewable in this Court.” Id. at 4. The government also contends that Mr.
Sepehry-Fard’s criminal claims, tort claims, and constitutional claims are similarly
unreviewable for lack of jurisdiction. Jd. Defendant adds that that claims of
violations of state law fall outside our jurisdiction “because state statutes do not
create a right to money damages against the United States.” Jd. (citing Griffin v.
United States, 96 Fed. Cl. 1, 8 (2010)).

 

3 He explains the basis of his First Amendment claim as being that he “can’t be
prosecuted for legally asserting... my 1s' Amendment Right to Free Speech.”
Compl. { 84.

4 Neither a trial by jury nor punitive damages are obtainable in our court. See
Arunga v. United States, 465 F. App'x 966, 967, n.2 (Fed. Cir. 2012) (“By filing in
the Court of Federal Claims, one waives the right to a jury trial.” (citing James v.
Caldera, 159 F.3d. 578, 589-90 (Fed. Cir. 1998)); Greene v. United States, 65 Fed. Cl.
375, 379 (2005) (“It is well-established that [the Court of Federal Claims] lacks
authority to grant punitive damages.” (citing 28 U.S.C. § 2674)).

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Plaintiff submitted a brief opposing the government’s motion. See Pl.’s Resp.
In it, Mr. Sepehry-Fard argues the government produced “no affidavits nor any
declaration from competent fact witness(es) ... to rebut Plaintiff Verified
Complaint Under Oath.” Jd. at 1. In response to the government’s argument that
this court cannot review decisions of other courts, Mr. Sepehry-Fard states that he
“does not nor ever did request to review the prior other court’s order(s) in this court,
whatever they may be.” Id. at 4.

Mister Sepehry-Fard also recharacterizes his claims, estimating the amount
of property taxes he had paid over more than 21 years and contending he has been
subject to an illegal exaction based on those taxes. Id. at 8. Plaintiff argues that
this alleged illegal exaction violates the Fifth Amendment’s Due Process Clause and
is within our court’s jurisdiction because it involves a tax refund. Id. at 11-12.
Plaintiff also reiterates his theory that the Constitution is a contract and that any
Constitutional violations would also breach this contract between him and the
government. Id. Mister Sepehry-Fard explains that his claim is based on a “non-
judicial judgement [sic]” against defendants based on violations of the Truth in
Lending Act of 1968, 15 U.S.C. § 1635 (2010) (TILA). Jd. at 16.5 Contemporaneous
with his response, plaintiff also filed a motion in which he claims defendant has
“defaulted” and must pay $25,000,000. See Verified Mot. at 4 (Pl.’s Mot.), ECF No.
11.

In its reply, the government argues that its motion to dismiss does not
depend on any evidentiary issues and that our court does not possess jurisdiction to
entertain Mr. Sepehry-Fard’s motion. Def.’s Reply in Supp. of Its Mot. to Dismiss
(Def.’s Reply) at 1-2, ECF No. 12. Plaintiffin turn replied, restating his previous
arguments and accusing attorneys for the government of “ganging up” on him. Pl.’s
Reply at 2, ECF No. 14.

II. DISCUSSION

A. Standard of Review

Under RCFC 12(b)(1), claims brought before this court must be dismissed
when it is shown that the court lacks jurisdiction over their subject matter. When
considering a motion to dismiss a case for lack of subject-matter jurisdiction, courts
will accept as true all factual allegations the non-movant made and draw all
reasonable inferences in the light most favorable to that party. See Scheuer v.
Rhodes, 416 U.S. 232, 236 (1974); Pixton v. B&B Plastics, Inc., 291 F.3d 1324, 1326
(Fed. Cir. 2002) (stating that on a motion to dismiss for lack of subject-matter
jurisdiction this court views “the alleged facts in the complaint as true, and if the
facts reveal any reasonable basis upon which the non-movant may prevail,

 

5 Although Mr. Sepehry-Fard cites TILA, he does not specify how the government
allegedly violated the act or explain what this “non-judicial judgement [sic]” is.

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dismissal is inappropriate”); CBY Design Builders v. United States, 105 Fed. Cl.
308, 325 (2012).

Though a pro se plaintiff's filings are to be liberally construed, see Erickson v.
Pardus, 551 U.S. 89, 94 (2007); Schirripa v. United States, No. 1:16-01073, 2018 WL
4049126, at *1 (Fed. Cir. Aug. 24, 2018) (relying on Erickson); Ottah v. Fiat
Chrysler, 884 F.3d 1185, 1141 (Fed. Cir. 2018), this lenient standard will not spare
claims from dismissal which fall outside this court’s jurisdiction for failing to
establish a breach of contract by the federal government or to identify a money-
mandating law which was allegedly violated by the federal government. See United
States v. Mitchell, 463 U.S. 206, 216-17 (1983). A plaintiff’s pro se status does not
relieve him of the obligation to demonstrate jurisdiction by a preponderance of the
evidence. See McNutt v. Gen. Motors Acceptance Corp. of Ind., 298 U.S. 178, 189
(1936) (explaining the plaintiff's responsibility for showing that the claim falls
within the court’s jurisdiction); Henke v. United States, 60 F.3d 795, 799 (Fed. Cir.
1995) (noting that a plaintiff's status does not excuse defects in the complaint);
Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988)
(stating that the burden of proof for establishing jurisdiction is by a preponderance
of the evidence).

B. Analysis
1. Tort Claims

Plaintiff seems to allege tortious conduct in several instances. To the extent
plaintiff alleges that the federal government failed to protect him from false
mortgages, such allegations of “the negligent or careless performance of a duty by
the government sounds in tort and fall outside of this court’s jurisdiction.” Lion
Raisins, Inc. v. United States, 54 Fed. Cl. 427, 434 (2002); see also Krigel v. United
States, 229 Ct. Cl. 73, 81 (1981) (‘A claim based on the careless performance of duty
by a government employee sounds in tort and is beyond the jurisdiction of this
court.”). As the Tucker Act explicitly excludes tort claims from our jurisdiction, and
the negligent performance of government duties is a tort, the Tucker Act denies our
court jurisdiction over such claims. 28 U.S.C. § 1491(a)(1).

Plaintiff also alleges that private entities engaged in tortious behavior, also
raising matters which our Court lacks the jurisdiction to entertain. See, e.g.,
Compl. {{ 2, 31, 61, 89, 92 (complaining that various defendants engaged in fraud
and intentional deceit, negligence, trespass, defamation, the negligent infliction of
emotional distress, and the intentional infliction of emotional distress). These
claims are related to plaintiff’s allegations that “the aforementioned companies...
have sold Plaintiff's private property” in violation of his property rights. Compl.

{ 25. As previously noted, even if the actions of these defendants could be
attributed to the federal government, the Tucker Act specifically withholds from
this court jurisdiction over any claims sounding in tort. 28 U.S.C. § 1491(a)(1);

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Khalil v. United States, 133 Fed. Cl. 390, 392 (2017). Indeed, the Federal Tort
Claims Act vests only the United States district courts with jurisdiction over tort
claims against the United States---including those for loss of property. 28 U.S.C.

§ 13846(b)(1); U.S. Marine, Inc. v. United States, 722 F.3d 1360, 1366 (Fed. Cir.
20138). See also Cottrell v. United States, 42 Fed. Cl. 144, 149 (1998) (“Even where
the claim is framed under non-tort law, the court lacks jurisdiction if the essence of
the claim lies in tort.”). Thus, to the extent that Mr. Sepehry-Fard argues that the
government or private persons or entities committed any of the torts he alleges, this
court lacks jurisdiction to hear such claims.

2. Claims Against Defendants Other Than the United States

Much of the complaint concerns the actions of a number of private individuals
and companies. See, e.g., Compl. J 16, 24-26, 29, 39, 41-42. These include the
U.S. Bank National Association, Greenpoint Mortgage Trust, Nationstar Mortgage
LLC, Greenpoint Mortgage Funding, Inc., Capital One, N.A., Severson & Werson
APC, Joseph W. Guzzetta, Bernard J. Kornberg, Adam N. Barasch, Mark Joseph
Kenney, William A. Aspinwall, Financial Guaranty Insurance Company, and Clear
Recon Corp. Id. { 24.

As is common in cases brought by pro se plaintiffs, Mr. Sepehry-Fard
misunderstands the purpose of this court’s jurisdiction. The Tucker Act grants this
court jurisdiction over cases against the United States government seeking damages
for certain claims founded upon the Constitution, statutes, or regulations of the
United States, as well as damages for breaches of contracts with the United States.
28 U.S.C. § 1491(a)(1).6 And, as explained above, even where the United States is
named as a defendant, Congress has specifically withheld from our subject-matter
jurisdiction cases seeking damages for torts, as well as claims based on crimes
allegedly committed against the plaintiff. Id.; Stanwyck v. United States, 127 Fed.
Cl. 308, 312-14 (2016).

Insofar as Mr. Sepehry-Fard’s complaint is directed at conduct by private
parties, this court lacks authority to hear the matter. Viahakis v. United States,
215 Ct. Cl. 1018, 1018-19 (1978); see also Ambase Corp. v. United States, 61 Fed. Cl.
794, 796 (2004) (explaining that this court lacks jurisdiction over private parties).
Also, to the extent plaintiff's complaint may be construed as alleging conduct by
California state officers, this court also lacks jurisdiction over such claims. In
general, “[t]his court does not have jurisdiction over any claims alleged against
states, localities, state and local government entities, or state and local government

 

6 The Constitution cannot be considered either an express or implied-in-fact
contract between plaintiff and the government. See Taylor v. United States, 118
Fed. Cl. 171, 173 (2018); Griffith v. United States, No. 14-793C, 2015 WL 430285, at
*2—3 (Fed. Cl. Jan. 30, 2015).

 
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officials and employees; jurisdiction only extends to suits against the United States
itself.” Anderson v. United States, 117 Fed. Cl. 3380, 331 (2014); see also Trevino v.
United States, 557 F. App’x 995, 998 (Fed. Cir. 2014) (explaining that this court
cannot hear claims against “states, localities, state and local government officials,
state courts, state prisons, or state employees”). Plaintiff’s allegations against
parties other than the United States thus fall outside our jurisdiction.” And no
action by a federal agency, nor any failure by a federal agency to perform a
required, money-mandating duty, is alleged.

Because plaintiff appears to make no specific allegation concerning anything
done by any federal actor, this case does not come within our court’s Jurisdiction.®
To the extent plaintiff discusses the United States government, he argues that it
failed “to adhere to specific requirements” it is bound to perform “pursuant to the
signed contract (i.e. the Constitution),” Pl.’s Resp. at 5, and that the government
somehow aided and abetted the theft of his property, Compl. { 31, all without
describing specific government actions. See also Pl.’s Resp. at 6. But even if
plaintiff’s allegations were construed to implicate the United States government, he
has failed to allege a matter within our jurisdiction, as explained below.

8. Criminal Claims

Plaintiff raises allegations of criminal conduct which include the commission
and aiding and abetting of grand theft. See Compl. {J 2, 30-31, 48; see also id.
{{] 24 (alleging “sex trafficking, human trafficking, prostitution, drug cartel and
other illegally obtained monies” and “funding terrorist groups including but not
limited to funding ISIS”), 25 (complaining of credit default swaps, tax write-offs,

 

7 In limited situations, the federal government may be liable for the actions of state
agents, but this is not such a case. See Rose Acre Farms, Inc. v. United States, 373
F.3d 1177, 1196 (Fed. Cir. 2004) (noting that attribution of state acts to the federal
government “is proper . . . only if the state officials were acting as agents of the
federal government or pursuant to federal authority.”) (citing B & G Enterprises,
Ltd., v. United States, 220 F.3d 1318, 1823-24 (Fed. Cir. 2000); see also, e.g., Hassan
v. United States, 41 Fed. Cl. 149, 150 (1998).

8 The one exception is the allegation concerning the order of a federal district court,
see Compl. 4] 26-28, 89, which plaintiff contends “is void as a matter of law since
there is nothing in [the] False Claims Act (FCA’) that corroborates and
substantiates the judge’s erroneous and void decision,” id. {[ 28; see generally
Sepehry-Fard v. U.S. Bank Nat'l Ass'n, No. 18-cv-03885, 2018 WL 5099287 (N.D.
Cal. Aug. 7, 2018). But Mr. Sepehry-Fard disclaims any intention of seeking review
of that order, see Pl.’s Resp. at 4. In any event, our court is unable to review the
correctness of decisions by other courts. See Vereda, Ltda. v. United States, 271
F.3d 1367, 1375 (Fed. Cir. 2001) (citing Joshua v. United States, 17 F.3d 378, 380
(Fed. Cir. 1994)); Petro-Hunt, L.L.C. v. United States, 126 Fed. Cl. 367, 380 (2016).

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and “Cross Collaritization [sic] of Plaintiff’s alleged loan based on a non[-]existing
alleged loan on Plaintiffs private property”), 30 (alleging literal theft), 38 (alleging
defendants “are international money launderers and [P]onzi schemers, which are
also known to illegally obtain and launder drug cartel, human trafficking, minor
prostitution, sex trafficking and other illegally obtained monies, dressed falsely as
alleged mortgage servicers, trustee of a closed trust that had shut down operations
more than 10 years ago and whatever else one wants to call these sham entities”),
40. These allegations presumably relate to the foreclosure actions on his properties.
See Compl. {{ 39, 41-42, 58-54. Plaintiff also alleges identity theft. Compl. 4] 44—
45,47. The Tucker Act, however, does not give our court jurisdiction over criminal
actions. See 28 U.S.C. § 1491(a)(1); Khalil, 133 Fed. Cl. at 392 (“This court,
however, ‘has no jurisdiction to adjudicate any claims whatsoever under the federal
criminal code.”) (quoting Joshua, 17 F.3d at 379). While it is theoretically possible
that Congress could place a money-mandating statute in the criminal code,
Stanwyck, 127 Fed. Cl. at 314, the Court is unaware of any such provision, and
plaintiff fails to cite any. Thus, insofar as Mr. Sepehry-Fard alleges criminal
conduct, this court lacks jurisdiction over those elements of his complaint.

4. Constitutional Claims

Without any specifics, plaintiff argues that defendants engaged in the
following: “Violation of Due Process, Breach of contract (Constitution), [and]
Violations of Constitution of United States 1st 4th 5th [Amendments].” Compl.

{4 2, 3n.2. Our court, however, has not been empowered to opine on every matter
involving an alleged violation of a constitutional provision. Under the Tucker Act,
28 U.S.C. § 1491(a)(1), our jurisdiction is restricted to claims for money damages,
and requires “the identification of a money-mandating law which was allegedly
violated by the federal government.” Stanwyck, 127 Fed. Cl. at 312 (citing Mitchell,
463 U.S. at 216-17). For jurisdiction to rest on the transgression of a constitutional
provision, that provision must mandate that money be paid to particular
individuals if violated. See Smith v. United States, 709 F.8d 1114, 1116 (Fed. Cir.
2013) (“To be cognizable under the Tucker Act, the claim must be for money
damages against the United States, and the substantive law must be money-
mandating.”); see also Eastport S.S. Corp. v. United States, 178 Ct. Cl. 599, 605
(1967) (holding that our predecessor did not have jurisdiction over “every claim
involving or invoking the Constitution”).

The First and Fourth Amendments lack money-mandating provisions,
thereby precluding this court’s jurisdiction. See United States v. Connolly, 716 F.2d
882, 887 (Fed. Cir. 1983) (explaining that “the [F]irst [A]Jmendment, standing alone,
cannot be so interpreted to command the payment of money”); Brown v. United
States, 105 F.3d 621, 623 (Fed. Cir. 1997) (‘Because monetary damages are not
available for a Fourth Amendment violation, the Court of Federal Claims does not
have jurisdiction over such a violation.”). Concerning the Fifth Amendment, while
violations of the Just Compensation Clause are within our jurisdiction, plaintiff

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does not allege the taking of his property by federal government. And, as a general
matter, violations of the Due Process Clause are not within our jurisdiction. See
LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir. 1995). The exception is
when the alleged due process violation has resulted in the exaction of money from a
plaintiff. See Aerolineas Argentinas v. United States, 77 F.3d 1564, 1573 (Fed. Cir.
1996).

To be sure, Mr. Sepehry-Fard alleges that he is owed a refund of taxes
improperly imposed, Compl. {J 80-84, and explains that these payments were
illegal exactions in violation of his due process rights, see Pl.’s Resp. at 6-8, 11-14.
But plaintiff does not identify any federal taxes that were improperly exacted, and
instead references local property taxes which he alleges violated the Treaty of
Guadalupe Hidalgo. See Compl. { 84; Pl.’s Resp. at 8. State and local taxes are not
taxes paid to the United States and thus cannot be recovered in our court. See
Gharb v. United States, No. 12-911C, 2013 WL 4828589, at *6 (Fed. Cl. Sept. 9,
2013) (explaining dual sovereignty and that states are not “mere appendages of the
Federal Government” (quoting Fed. Mar. Comm'n v. So. Carolina State Ports Auth.,
535 U.S. 743, 751 (2002)). Accordingly, plaintiff has failed to allege an illegal
exaction falling within our court’s jurisdiction.

§. Miscellaneous Claims

Plaintiff also asserts that he has suffered from the deprivation of his civil
rights, presumably in violation of 42 U.S.C. § 1983. See Compl. {{ 2, 11-12. But
Section 1983 and its related statutes do not confer jurisdiction on this court, even
when claims are stated against the United States. See Khalil, 133 Fed. Cl. at 392
(noting that “[i]t is well established, however, that § 1983 does not confer
jurisdiction on the Court of Federal Claims over claims against the United States”)
(quoting Johnson v. United States, No. 97-5107, 1998 WL 39162, at *2 (Fed. Cir.
Feb. 3, 1998)). Indeed, these provisions do not even apply to the federal
government. See Hardin v. United States, No. 15-585C, 2015 WL 6437379, at *A &
n.5 (Fed. Cl. Oct. 22, 2015) (noting that district courts have exclusive jurisdiction
over claims brought under 42 U.S.C. §§ 1981, 1983, 1985, and 1986, and that such
provisions “apply to actions of state and local, not federal, officials”) (emphasis in
original). Therefore, even if plaintiff somehow attributed civil rights violations to
misconduct by the United States, this court would still lack jurisdiction over those
claims.

Plaintiff makes several references to sources of law which cannot be the basis
for our court’s jurisdiction. He repeatedly alleges violations of California law.
Compl. {{ 1-2, 22, 30, 48; Pl.’s Resp. at 6. But state law violations cannot come
within our power, as “state statutes do not create a right to money damages against
the United States.” Griffin v. United States, 96 Fed. Cl. 1, 8 (2010). Mister
Sepehry-Fard also seems to be under the impression that the 1848 Treaty of
Guadalupe Hidalgo protects his “land patent ownership” rights in this court.

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Compl. J{ 6, 66-81, 83-84. But as this court has indicated in a similar context,
plaintiff “fails to explain why the court has jurisdiction, when Congress established
a separate administrative scheme for claims brought under the Treaty, and when
such claims were required to be brought over 160 years ago.” Daniels v. United
States, No. 17-1598C, 2018 WL 1664476, at *8 (Fed. Cl. Apr. 6, 2018). Plaintiff also
refers to President Trump’s Executive Order dated December 20, 2017, which
freezes the assets of identified human rights violators. See Compl. {{ 7, 63 & Ex. X.
But far from containing a money-mandating clause, to the contrary this order
expressly states (in Section 18) that it “is not intended to, and does not, create any
right or benefit, substantive or procedural, enforceable at law or in equity by any
party against the United States.” Exec. Order No. 13,818, 82 Fed. Reg. 60,839 (Dec.
20, 2017).

In sum, as explained above, the complaint in this case fails to contain any
allegations that place its claims within the subject-matter of our court, and
dismissal is thus required.?

III. CONCLUSION

Even if everything that Mr. Sepehry-Fard alleges is true, there is nothing
that our court can do about it, as Congress has not given us jurisdiction to hear
cases like his. Our court is unable to review the decisions of federal district courts,
or to entertain claims based on the actions of private persons. Our power extends to
cases against the United States government for non-tortious violations of federal
laws that require the payment of money damages by the federal government. See
28 U.S.C. § 1491(a)(1). Plaintiff has not alleged anything done by the federal
government in violation of any identified, money-mandating federal sources of law
that would place his claims within our court’s jurisdiction. For these reasons, the
government’s motion to dismiss this case for lack of subject-matter jurisdiction,
under RCFC 12(b)(1), is GRANTED. The Clerk shall close the case.

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Senior Judge

IT IS SO ORDERED.

 

9 The Court notes that another case brought in our court by Mr. Sepehry-Fard,
containing many of the same claims as this one, was recently dismissed for lack of
subject-matter jurisdiction. See Sepehry-Fard v. United States, No. 19-560C, 2019
WL 2070746, at *1—3 (Fed. Cl. May 9, 2019).

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